   Case 1:23-cv-08292-SHS-OTW              Document 263        Filed 11/18/24       Page 1 of 4




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Hon. Ona T. Wang                                                             Annette L. Hurst
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RE:    Authors Guild et al. v. OpenAI Inc. et al., No. 1:23-cv-8292 and
       Alter et al. v. OpenAI Inc. et al., No. 1:23-cv-10211

Dear Judge Wang:

Microsoft respectfully requests a pre-motion conference regarding the Class Plaintiffs’ refusal to
produce documents relevant to the first and fourth fair use factors and the defense of substantial
non-infringing uses. Specifically, as to the first factor, Plaintiffs are refusing to produce the
documentation reflecting their own usage of ChatGPT. As to the fourth factor, Plaintiffs concede
the relevance of the requested evidence but refuse to collect responsive documents within their
possession or their practical ability to obtain.

Evidence regarding Plaintiffs’ Usage of Generative AI. As part of its fair use defense,
Microsoft must provide evidence to support the first factor—the purpose and character of the
allegedly infringing use. 17 U.S.C. § 107(1). On the first factor, the primary inquiry concerns
“whether the new work, ‘. . . merely supersede[s] the objects of the original creation, . . . or
instead adds something new, with a further purpose . . . . [I]t asks, in other words, whether and to
what extent the new work is ‘transformative.’” Authors Guild v. Google, Inc., 804 F.3d 202, 214-
15 (2d Cir. 2015) (quoting Campbell v. Acuff-Rose Music, Inc., 510 U.S. 569, 578-79 (1994)).
How people use the generative AI products at issue is directly relevant to the analysis of the
purpose of the use. In addition, Microsoft is defending Plaintiffs’ claims for secondary liability
of contributory copyright infringement on the ground that there are substantial noninfringing
uses. Sony Corp. of Am. v. Universal City Studios, Inc., 464 U.S. 417, 417 (1984) (holding that
certain videocassette recorders were “capable of substantial noninfringing uses” due to evidence
of “[p]rivate, noncommercial time-shifting in the home”); Cartoon Network LP, LLLP v. CSC
Holdings, Inc., 536 F.3d 121, 133 (2d Cir. 2008) (“asking whether copying copyrighted material
is only ‘incidental’ to a given technology is akin to asking whether that technology has
‘commercially significant noninfringing uses,’ another inquiry the Sony Court found relevant to
whether imposing contributory liability was just.”) (quoting Sony, 464 U.S. at 442). Beneficial
noninfringing uses are also relevant to balancing the alleged harm to the works in connection



                                                 1
   Case 1:23-cv-08292-SHS-OTW             Document 263         Filed 11/18/24     Page 2 of 4




with the fourth factor of fair use. See Google LLC v. Oracle America, Inc., 593 U.S. 1, 35 (2021)
(“we must take into account the public benefits the copying will likely produce”).

Accordingly, Microsoft propounded discovery requests seeking information about how the
Plaintiffs themselves are using ChatGPT. Ex. A (Authors Guild’s Resps. & Objs. to Microsoft’s
First Set of Requests for Production) at 20 (Request No. 23); Ex. B. (Individual Plaintiffs’ Resps.
& Objs. to Microsoft’s First Set of Requests for Production) at 21 (same). Plaintiffs have refused
to provide documents responsive to Microsoft’s request for all non-privileged prompt attempts.
This motion is directed only to general usage of the tool and is not directed to the prompts used
to produce evidence quoted in the Complaint that was addressed in a prior motion.

Evidence of Plaintiffs’ use of ChatGPT is directly relevant to Microsoft’s fair use and substantial
non-infringing uses defenses. Plaintiffs’ interactions with ChatGPT (including their prompts)
will show the transformative and beneficial nature of large language models far beyond the
cherry-picked uses alleged in Plaintiffs’ Consolidated Complaint. Plaintiffs’ use of large
language models to assist with research and writing demonstrates specific pro-copyright benefits
to these transformative and noninfringing uses. This is exactly the type of evidence this Court
has previously compelled in other copyright cases. See Viacom Int'l Inc. v. Youtube Inc., 253
F.R.D. 256, 261-62 (S.D.N.Y. 2008) (granting motion to compel evidence of substantial non-
infringing uses).

Plaintiffs have not argued (let alone demonstrated) any burden whatsoever with producing these
documents. They just want to improperly restrict the scope of the evidence to that which they
choose to produce rather than what Defendant Microsoft is requesting. Microsoft respectfully
requests the Court compel Plaintiffs to produce all documents relating to Plaintiffs’ use and
prompting of ChatGPT in response to Author’s Guild Request No. 23 and Individual Plaintiffs
Request No. 23.

Fourth Factor Fair Use Evidence. The documents requested related to these topics are essential
to assessing the fourth factor of fair use: “the effect of the use upon the potential market for or
value of the copyrighted work.” 17 U.S.C. § 107(4). The law is clear: as a Defendant, Microsoft
has the burden of presenting evidence on the fourth factor—one of the most important elements
of fair use. See Harper & Row, Publ’rs. v. Nation Enters., 471 U.S. 539, 566 (1985); Campbell
v. Acuff-Rose Music, Inc., 510 U.S. 569, 590 (1994) (burden on defendant to come forward with
evidence); Authors Guild v. Google, Inc., 804 F.3d 202, 223 (2d Cir. 2015) (“the fourth factor is
of great importance in making a fair use assessment”). To that end, Microsoft has served
specific, tailored requests on Plaintiffs such to assess the market for (including the potential
market) and value of the copyrighted works-in-suit. See Ex. A & Ex. B: Request No. 12
(valuation of works before and after release of OpenAI’s LLMs), Request No. 10 (documents
concerning the market for the works-in-suit—before and after release of OpenAI’s LLMs)—
including gross revenues, the consumer base, and other market performance metrics as well as
studies), and Request No. 11 (same, for derivative markets).




                                                 2
   Case 1:23-cv-08292-SHS-OTW               Document 263        Filed 11/18/24      Page 3 of 4




Plaintiffs have conceded the relevance of what was requested and have therefore agreed to
produce documents and communications reflecting any valuation or market analysis of the Class
Works, including, but not limited to, revenue reports, market performance reports in both
traditional and potential markets, and market and valuation research and studies. Despite this
agreement, Plaintiffs have improperly restricted the scope of their collection for such responsive
material. The remaining problem is twofold: (1) first, Author’s Guild is refusing to collect and
produce all information in its possession; and (2) the Individual Plaintiffs have not agreed to ask
those from whom they have a practical ability to obtain the documents—literary agents and
publishers—for this information as well.

Plaintiffs concede that the relevant evidence here in considering harm to the “market” for the
copyrighted work must encompass all traditional, reasonable, or likely to be developed markets
in which the Plaintiffs are or could be selling their works. Am. Geophysical Union v. Texaco Inc.,
60 F.3d 913, 930 (2d Cir. 1994); see also Google LLC v. Oracle America, Inc., 593 U.S. 1, 35-36
(2021) (“[A] potential loss of revenue is not the whole story. We here must consider not just the
amount but also the source of the loss.”). To weigh against fair use, “[t]here must be a
meaningful or significant effect ‘upon the potential market for or value of the copyrighted
work.’” Authors Guild, 804 F.3d at 224 (quoting 17 U.S.C. § 107). In order to determine the
existence of any such effect, Microsoft must first be able to understand the full scope of the
market, potential market, and value of the copyrighted works. Thus, Microsoft propounded
Requests which seek evidence directly related to the market for the copyrighted works-in-suit
and their derivatives. See Ex. A at 12-13; Ex. B at 10-13.

First, The Authors Guild’s takes the position that it must only collect the information in its
possession related to the works of one author, Mignon Eberhart, because those are the only
works it is asserting. This is an indefensible position. The Author’s Guild is the preeminent
representative of authors in the publishing industry. It regularly collects and publishes data
regarding the performance of that industry, finances and compensation for authors, and
marketing of books. The fact that Author’s Guild is only asserting copyright directly on behalf of
one author does not excuse it from its obligation to search for highly relevant market data within
its possession. The Authors Guild should be ordered to produce all fourth factor evidence in its
possession without regard to the works of Mignon Eberhart.

Second, with respect to the Individual Plaintiffs, given the obvious, and agreed-upon, relevance
of this information, Plaintiffs should collect not only the data in their possession, but should also
request data regarding their works from those with whom they work in publishing the works at
issue. All of the Plaintiffs have commercial publishers and most (if not all) of them also have
literary agents. Requesting relevant market and valuation and data from their publishers and
agents is far more efficient that forcing Microsoft to seek it all through third-party subpoenas.
Plaintiffs and Microsoft continue to meet and confer on this point, but if the Individual Plaintiffs
refuse to make such requests from their agents, they should be ordered to do so. See Bank of
New York v. Meridien Biao Bank Tanz., 171 F.R.D. 135, 146 (S.D.N.Y. 1997) (granting motion
to compel and finding that the practical ability test extends to “obtain[ing] documents from a
non-party”); see also Mirlis v. Greer, 80 F.4th 377, 382 (2d Cir. 2023).


                                                  3
   Case 1:23-cv-08292-SHS-OTW   Document 263   Filed 11/18/24   Page 4 of 4




Respectfully submitted,

/s/ Annette L. Hurst

Annette L. Hurst




                                    4
